

Matter of Rossi (2023 NY Slip Op 06190)





Matter of Rossi


2023 NY Slip Op 06190


Decided on November 30, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 30, 2023

PM-265-23
[*1]In the Matter of Peter G. Rossi, an Attorney. (Attorney Registration No. 2789782.)

Calendar Date:November 20, 2023

Before:Garry, P.J., Clark, Reynolds Fitzgerald, McShan and Mackey, JJ.

Peter G. Rossi, Wyndmoor, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Peter G. Rossi was admitted to practice by this Court in 1997 and lists a business address in Wyndmoor, Pennsylvania with the Office of Court Administration. Rossi now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rossi's application.
Upon reading Rossi's affidavit sworn to September 28, 2023 and filed October 3, 2023 and upon reading the November 15, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Rossi is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, McShan and Mackey, JJ., concur.
ORDERED that Peter G. Rossi's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Peter G. Rossi's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Peter G. Rossi is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rossi is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Peter G. Rossi shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








